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 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   CRESCENIO DELGADO-ESQUIVEL
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )       No. CR-S-11-00076-LKK
                                     )
12                  Plaintiff,       )
                                     )       STIPULATION AND ORDER TO CONTINUE
13        v.                         )       STATUS CONFERENCE
                                     )
14   CRESCENCIO DELGADO-ESQUIVEL,    )
     et al.,                         )       Date: January 29, 2013
15                                   )       Time: 9:15 a.m.
                    Defendants.      )       Judge: Hon. Lawrence K. Karlton
16                                   )
     _______________________________ )
17
18
          IT IS HEREBY STIPULATED by and between the parties hereto through
19
     their respective counsel, SAMUEL WONG, Assistant United States Attorney,
20
     attorney for plaintiff; MICHAEL E. HANSEN, attorney for defendant NORMA
21
     GONZALEZ;   DOUGLAS     BEEVERS,    attorney     for    defendant     CRESCENCIO
22
     DELGADO-EZQUIVEL; DANNY D. BRACE, JR., attorney for defendant ARMANDO
23
     VASQUEZ-BARRAGAN;     DINA    SANTOS,     attorney     for    defendant    WALDO
24
     PEREZ-MENDOZA; AND DWIGHT SAMUEL, attorney for defendant VICTOR GONZALEZ,
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     that the previously-scheduled status conference date of November 20,
26
     2012, be vacated and the matter set for status conference on January 29,
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     2013, at 9:15 a.m.
28
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 1          This continuance is requested to allow defense counsel additional
 2   time      to   review   discovery    with   the   defendants,   to   examine   possible
 3   defenses and to continue investigating the facts of the case. These tasks
 4   are made more difficult and time-consuming because many of the defendants
 5   are Spanish language speakers and communications with their counsel need
 6   to   be    conducted    with   the   assistance    of   a   Spanish-English    language
 7   interpreter and/or the defendants are housed in outlying county jails
 8   outside of Sacramento County. Defense counsel need additional time to
 9   explain the ramifications of any proposed plea agreements to their
10   respective clients and to prepare their respective client’s defense in
11   the event that there is no pretrial resolution of this case. Further, all
12   parties stipulate and agree that the Court shall find this case complex
13   and unusual within the meaning of 18 U.S.C. sections 3161(h)(7)(A) and
14   (B)(ii)and Local Code T-2 because defendant Delgado-Ezquivel is named as
15   a defendant in two separate methamphetamine conspiracy and trafficking
16   Indictments with multiple Spanish speaking only co-defendants, multiple
17   counts, and numerous Spanish language audio recordings that must be
18   translated to English, all of which make it unreasonable to expect
19   adequate preparation for pretrial proceedings and trial itself within the
20   time limits established in 18 U.S.C. Section 3161. The parties agree a
21   continuance is necessary for these purposes, and agree to exclude time
22   under the Speedy Trial Act accordingly.
23          The Government concurs with this request.
24          Further, the parties agree and stipulate that the Court shall find
25   the ends of justice served by the granting of such a continuance outweigh
26   the best interests of the public and the defendants in a speedy trial and
27   that time within which the trial of this case must be commenced under the
28   Speedy Trial Act should therefore be excluded under 18 U.S.C. sections
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 1   3161(h)(7)(A) and (B)(iv), corresponding to Local Code T-4 (to allow
 2   defense   counsel   time   to   prepare),   from   the   date   of   the   parties’
 3   stipulation, November 13, 2012, to and including January 29, 2013. The
 4   parties further stipulate and agree that the Court shall find the failure
 5   to grant the requested continuance in this case would deny counsel for
 6   defendants reasonable time necessary for effective preparation, taking
 7   into account the exercise of due diligence.
 8        Accordingly, the parties respectfully request the Court adopt this
 9   proposed stipulation as its order.
10   IT IS SO STIPULATED.
11
     Dated: November 13, 2012                     Respectfully submitted,
12
                                            DANIEL BRODERICK
13                                          Federal Defender
14                                          /s/ Doug Beevers
                                            DOUG BEEVERS
15                                          Assistant Federal Defender
                                            Attorney for Defendant
16                                          CRESCENCIO DELGADO-ESQUIVEL
17
18   Dated: November 13, 2012               /s/ Michael E. Hansen
                                            MICHAEL E. HANSEN
19                                          Attorney for Defendant
                                            NORMA GONZALEZ
20
21
     Dated: November 13, 2012               /s/ Danny Brace
22                                          DANNY D. BRACE, JR.
                                            Attorney for Defendant
23                                          ARMANDO VASQUEZ-BARRAGAN
24
25   Dated: November 13, 2012               /s/ Dina Santos
                                            DINA SANTOS
26                                          Attorney for Defendant
                                            WALDO PEREZ-MENDOZA
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28
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 1   Dated: November 13, 2012                  /s/ Dwight Samuel
                                               DWIGHT SAMUEL
 2                                             Attorney for Defendant
                                               VICTOR GONZALEZ
 3
 4   Dated: November 13, 2012                  BENJAMIN B. WAGNER
                                               United States Attorney
 5
                                               /s/ Samuel Wong
 6                                             SAMUEL WONG
                                               Assistant U.S. Attorney
 7                                             Attorney for Plaintiff
 8
 9                                           ORDER
10        The Court, having received, read, and considered the stipulation of
11   the parties, and good cause appearing therefrom, adopts the stipulation
12   of the parties in its entirety as its order. Based on the stipulation of
13   the parties and the recitation of facts contained therein, the Court
14   finds that this case is unusual and complex in that it is unreasonable to
15   expect adequate preparation for pretrial proceedings and trial itself
16   within    the   time   limits   established     in   18   U.S.C.   Section   3161.   In
17   addition, the Court specifically finds that the failure to grant a
18   continuance in this case would deny defense counsel to this stipulation
19   reasonable time necessary for effective preparation, taking into account
20   the exercise of due diligence. The Court finds that the ends of justice
21   to be served by granting the requested continuance outweigh the best
22   interests of the public and the defendants in a speedy trial.
23        The Court orders that the time from the date of the parties’
24   stipulation, November 13, 2012, to and including January 29, 2013, shall
25   be excluded from computation of time within which the trial of this case
26   must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C.
27   section 3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T-2 (complex
28   and unusual case) and T-4 (reasonable time for defense counsel to
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 1   prepare). It is further ordered that the November 20, 2012, status
 2   conference shall be continued until January 29, 2013, at 9:15 a.m.
 3        IT IS SO ORDERED.
 4   Dated: November 14, 2012
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